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                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             WILMINGTON DIVISION



   IN RE:                                         CASE NUMBER: 19-01783-5-SWH
   MICHAEL COLLINS
   VICKI COLLINS
   134 AIRLEIGH PL
   RICHLANDS, NC 28574

          DEBTORS                                  CHAPTER 13




                                CERTIFICATE OF SERVICE

           The undersigned hereby certifies under penalty of perjury that he/she is over
   eighteen (18) years of age and that the Chapter 13 Plan in the above captioned case was
   this day served upon the below named persons by mailing, postage prepaid, first class
   mail a copy of such instrument to each person(s), parties, and/or counsel at the addresses
   shown below:

   MICHAEL COLLINS
   VICKI COLLINS
   134 AIRLEIGH PL
   RICHLANDS, NC 28574

   Joseph Bledsoe, III
   Chapter 13 Trustee
   Served via CM/ECF

   [ X] and on the parties in interest at the addresses shown on the attached matrix (if box
   checked)

   This the 19th day of April, 2019
                                               The Law Offices of Chris Vonderau, PLLC
                                              /s/ Chris Vonderau
                                              Chris Vonderau
                                               NC State Bar No. 25019
                                               4022 Shipyard Blvd.
                                              Wilmington, NC 28403
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                                               Attorney for Debtors
